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                                  UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                               ORLANDO DIVISION

   JOHN DOE,

                                Plaintiff,

   v.                                                                    Case No: 6:18-cv-1069-Orl-37LRH

   ROLLINS COLLEGE,

                                Defendant.


                                                         ORDER
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:            PLAINTIFF’S MOTION TO COMPEL MATERIALS
                                WITHHELD ON THE BASIS OF ATTORNEY-CLIENT
                                COMMUNICATION (Doc. No. 48)

             FILED:             July 7, 2019



             THEREON it is ORDERED that the motion is DENIED.

             On July 7, 2019, Plaintiff filed the instant motion to compel regarding certain documents

   and deposition testimony Defendant withheld on the basis of attorney-client privilege. Doc. No.

   48. However, discovery in this matter closed on July 5, 2019. See Doc. No. 29. The Case

   Management and Scheduling Order (“CMSO”) in this matter provides: “The parties shall serve all

   discovery requests sufficiently in advance of the discovery deadline so that any response will be due

   by the discovery deadline.” Id. at 4.1 The CMSO also advised the parties that “the Court routinely



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                 It appears that Plaintiff complied with this directive and Defendant served its responses prior to the
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   denies motions to compel that are filed after the discovery deadline as untimely.” Id. at 8.

   Accordingly, because discovery in this matter is closed, Plaintiff’s motion to compel (Doc. No. 29)

   is DENIED.

           DONE and ORDERED in Orlando, Florida on July 8, 2019.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




   July 5, 2019 discovery deadline. Doc. Nos. 48-1, 48-2. Plaintiff began the good faith conferral process on
   the discovery at issue in the motion to compel on June 26, 2019, and it appears that the conferral process
   concluded on July 1, 2019. See Doc. Nos. 48-5, 48-6. Nevertheless, Plaintiff did not file the instant motion
   to compel until July 7, 2019, after the discovery period closed.


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